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              Exhibit 58
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  Report
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                             Dominion
  machines
         inMichigan
                 county
  ByALISWENSON December15,2020




                                        CLAIM: A report released this week in Michigan shows Dominion Voting Systems
                                        machines in Antrim County, Michigan, were "intentionally designed with inherent en·ors
                                        to create systemic fraud and influence election results."

                                        AP'S ASSESSMENT: False. This report rests on falsehoods about a human error in
                                        Antrim County and about Dominion machines, according to state and local officials. The
                                        initial vote reporting error in Antrim County was isolated and has been identified and
                                        explained by election officials. It was caused by a clerk's failure to update media drives
                                        for certain tabulators to reflect the correct ballot content. It was not a machine problem.




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                                        THE FACTS: There is no evidence ofvvidespread fraud in the 2020 election. Election
                                        officials have confirmed there were no serious irregularities and the election went well.

                                        There's also no evidence the election technology fom Dominion Voting Systems
                                        switched or deleted votes, used algorithms to unevenly weigh vote tallies, colluded ,vith
                                        Democrats, or used foreign servers - despite repeated efforts by the president and his
                                        supporters to claim it did.



Document title: Report spreads debunked claims about Dominion machines in Michigan county
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                                There's also no evidence the election technology fom Dominion Voting Systems
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                                switched or deleted votes, used algorithms to unevenly weigh vote tallies, colluded ,vith
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                                Democrats, or used foreign servers - despite repeated efforts by the president and his
                                supporters to claim it did.

                                Even so, a deluge of false claims around Dominion is circling back to Antrim County,
                                Michigan, this week after starting there on election night, when confusion around a
                                clerk's e1Tordl'Ovesocial media users to falsely blame the election management system
                                used to tabulate the data.

                                The renewed attention to Dominion and Antrim County this week stems from a report
                                released on Monday as part of a lawsuit seeking to challenge the county's election
                                results.

                                The 23-page report - signed by a former Republican congressional candidate with a
                                history of spreading misinformation about Michigan's election - claims Dominion "is
                                intentionally and ptll'posefully designed ,vith inherent errors to create systemic fraud
                                and influence election results."


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                                The report claims the results of the election in Antrim County should not be certifiable
                                because a forensic analysis of voting machines found a "machine error built into the
                                voting software designed to create error."

                                That analysis is "critically flawed, filled with drnmatic conclusions without any evidence
                                to support them," according to a joint statement from the Michigan Department of State
                                and the Michigan attorney general's office on Monday.

                                Antrim County officials concurred in a Tuesday press release, saying, "An analysis which
                                should have been data and fact based is instead riddled with false and unsupported
                                claims, baseless attacks, and incorrect use of technical te1ms."

                                Dominion has clarified that its technology did not err in Antrim County during the 2020
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                                claims, baseless attacks, and incorrect use of technical te1ms."

                                Dominion has clarified that its technology did not err in Antrim County during the                                             2020

                                election. Officials have thoroughly explained the human mistake that caused the small,
                                Republican-leaning county to temporarily report unofficial results that reflected a
                                landslide win for Joe Eiden.

                                "It was prompted by the clerk not updating media drives in some of the machines in
                                Antrim County, an accidental human e1Tor,"the Michigan Department of State said in a
                                release. "Reporting errors are common, and always caught and con·ected in the county
                                canvass, if not before, as was the case in Antrim County."

                                "There was no malice, no fraud here, just human error," County Clerk Sheryl Guy told
                                the AP. The tabulation error was co1Tected.

                                Several social media users, including Trump attorney Rudy Giuliani and the president
                                himself, have cited the report's mention of the county having a "6896e1Torrate," which it
                                claims is based on a review of tabulation logs from three days after Election Day.

                                The report's authors didn't explain all the errors they saw, or what they mean by "error
                                rate." County officials told the AP they didn't understand the number, since they have
                                not had a chance to look through the data.

                                The report released Monday also included a slew of other debunked claims about
                                Dominion, which Dominion CEO John Poulos addressed at length on Tuesday in
                                prepared statements to a Republican-led Michigan Senate committee investigating the
                                election.

                                "The disinformation campaign being waged against Dominion defies facts or logic,"
                                Poulos said. "To date, no one has produced credible evidence of vote fraud or vote
                                switching on Dominion systems because these things simply have not occurred."

                                Upon the release of the report on Monday, Michigan Secretary of State Jocelyn Benson
                                called the state's Nov. 3 election ''the most secure in ow· state's history."

                                "If the Trump campaign had any actual evidence of wrongdoing - or genuine suspicion
                                thereof - they could have requested a hand recount of every ballot in the state," she said
                                in a statement. "They did not, instead choosing to allow shadowy organizations claiming
                                expertise to throw around baseless claims of fraud in an effort to mislead American
                                voters and undermine the integrity of the election."

                                For further confomation nothing went awry ,vith vote tabulators in Antrim County, the
                                Michigan Bureau of Elections will complete a risk-limiting audit of all ballots there this
                                Thursday, according to the Michigan Department of State.

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                                Michigan Bureau of Elections will complete a risk-limiting audit of all ballots there this
                                Thursday, according to the Michigan Department of State.

                                "This is essentially a hand tally of every ballot, which can be compared with the
                                machine-tabulated results," the department said in a statement.

                                "We're interested in transparency here," Antrim County spokesman Jeremy Scott told
                                the AP. "Even though we're confident in the results, we want everybody to be confident
                                in the results."



                                This is part of The Associated Press' ongoing effort to fact-check misinformation that is
                                shared widely online, including work with Facebook to identify and reduce the
                                circulation of false stories on the platfo1m.

                                Here's more info1mation on Facebook's fact-checking program:
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